[Cite as State v. Sturgill, 2024-Ohio-3235.]



                                     IN THE COURT OF APPEALS

                            TWELFTH APPELLATE DISTRICT OF OHIO

                                               BUTLER COUNTY




                                                     :
 STATE OF OHIO,
                                                     :     CASE NO. CA2024-04-054
        Appellee,
                                                     :         DECISION
                                                                8/26/2024
     - vs -                                          :

                                                     :
 STEVEN DWAYNE STURGILL,
                                                     :
        Appellant.



      CRIMINAL APPEAL FROM BUTLER COUNTY COURT OF COMMON PLEAS
                         Case No. CR2023-08-1254



Michael T. Gmoser, Butler County Prosecuting Attorney, and John Heinkel, Assistant
Prosecuting Attorney, for appellee.

Christopher Bazeley, for appellant.



        Per Curiam.

        {¶1}     This cause came on to be considered upon a notice of appeal filed by

appellant, Steven Dwayne Sturgill, the transcript of the docket and journal entries, the

transcript of proceedings and original papers from the Butler County Court of Common

Pleas, and upon the briefs.
                                                                      Butler CA2024-04-054

       {¶2}   Appellant's counsel has filed a brief with this court pursuant to Anders v.

California, 386 U.S. 738 (1967), which (1) indicates that a careful review of the record

from the proceedings below fails to disclose any errors by the trial court prejudicial to the

rights of appellant upon which an assignment of error may be predicated; (2) lists one

potential error "that might arguably support the appeal," Anders at 744; (3) requests that

this court review the record independently to determine whether the proceedings are free

from prejudicial error and without infringement of appellant's constitutional rights; (4)

requests permission to withdraw as counsel for appellant on the basis that the appeal is

wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have

been served upon appellant.

       {¶3}   Having allowed appellant sufficient time to respond, and no response

having been received, we have accordingly examined the record and find no error

prejudicial to appellant's rights in the proceedings in the trial court. The motion of counsel

for appellant requesting to withdraw as counsel is granted, and this appeal is dismissed

for the reason that it is wholly frivolous.


       S. POWELL, P.J., M. POWELL and BYRNE, JJ., concur.




                                              -2-
[Cite as State v. Sturgill, 2024-Ohio-3235.]
